               IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF TENNESSEE
                              AT GREENEVILLE



UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       No. 2:08-CR-016
                                                   )
GARY MOORE                                         )


                            MEMORANDUM AND ORDER


              This criminal case is before the court on the defendant’s motion for a

continuance of his March 9, 2011 trial date [doc. 200]. Therein, the defendant argues that

his counsel needs additional time to prepare for trial “given the voluminous discovery and

the two-year history of this matter.”1 Current defense counsel was appointed less than one

month ago. Counsel for the government is not opposed to the requested continuance.

              The court finds the motion well taken, and it will be granted. The court finds

that the ends of justice served by granting the motion outweigh the best interests of the

public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). In light of the

reasoning set forth by the defendant, the court finds that the failure to grant his motion

would deny his attorney the reasonable time necessary for effective trial preparation. 18

U.S.C. § 3161(h)(7)(B)(iv). The defendant’s motion requires a delay in the proceedings.



       1
          This 2008 case was delayed for twenty months by the United States’ interlocutory
appeal of the court’s order granting the defendant’s motion to suppress.


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Therefore, all the time from the filing of the defendant’s motion to the new trial date is

excludable as provided by the Speedy Trial Act. 18 U.S.C. § 3161(h)(7)(A).

             It is hereby ORDERED that the defendant’s motion [doc. 200] is

GRANTED, and this criminal case is CONTINUED to Wednesday, May 4, 2011, at 9:00

a.m. The new plea cutoff and motion filing date is April 20, 2011.



                                                ENTER:



                                                      s/ Leon Jordan
                                                United States District Judge




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